Case 1:18-cv-00477-LEK-RT Document 95 Filed 08/15/19 Page 1 of 11   PageID #: 1243
Case 1:18-cv-00477-LEK-RT Document 95 Filed 08/15/19 Page 2 of 11   PageID #: 1244
Case 1:18-cv-00477-LEK-RT Document 95 Filed 08/15/19 Page 3 of 11   PageID #: 1245
Case 1:18-cv-00477-LEK-RT Document 95 Filed 08/15/19 Page 4 of 11   PageID #: 1246
Case 1:18-cv-00477-LEK-RT Document 95 Filed 08/15/19 Page 5 of 11   PageID #: 1247
Case 1:18-cv-00477-LEK-RT Document 95 Filed 08/15/19 Page 6 of 11   PageID #: 1248
Case 1:18-cv-00477-LEK-RT Document 95 Filed 08/15/19 Page 7 of 11   PageID #: 1249
Case 1:18-cv-00477-LEK-RT Document 95 Filed 08/15/19 Page 8 of 11   PageID #: 1250
Case 1:18-cv-00477-LEK-RT Document 95 Filed 08/15/19 Page 9 of 11   PageID #: 1251
Case 1:18-cv-00477-LEK-RT Document 95 Filed 08/15/19 Page 10 of 11   PageID #:
                                    1252
Case 1:18-cv-00477-LEK-RT Document 95 Filed 08/15/19 Page 11 of 11   PageID #:
                                    1253
